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 7                           UNITED STATES DISTRICT COURT

 8                     FOR THE EASTERN DISTRICT OF CALIFORNIA

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     BRIAN DAWE; FLAT IRON
10   MOUNTAIN ASSOCIATES, LLC,
     formerly known as FLAT
11   IRON MOUNTAIN ASSOCIATES,
     a Partnership,
12
                                                NO. CIV. S-07-1790 LKK/EFB
13                 Plaintiffs,

14           v.
                                                            O R D E R
15   CORRECTIONS USA, a California
     Corporation; CALIFORNIA
16   CORRECTIONAL PEACE OFFICERS'
     ASSOCIATION, a California
17   Corporation; JAMES BAIARDI,
     an individual; DONALD JOSEPH
18   BAUMANN, an individual,

19                 Defendants.
                                           /
20   AND CONSOLIDATED ACTIONS &
     RELATED COUNTERCLAIMS
21                                         /

22           On June 21, 2010, the court heard numerous motions in limine.

23   Defendants raised a question as to what evidence may be properly

24   considered to prove malice under the California privileges in

25   defamation.      This   question   must    be   resolved   to   prepare   jury

26   instructions for trial. The court is inclined to adopt the standard

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 1   of proof of malice set forth in Lytel v. Simpson, No. 05-01937-FJ,

 2   2006 WL 2263943 (N.D. Cal. Aug. 8, 2006). For this reason, the

 3   court refers the parties to this opinion. They are encouraged to

 4   discuss whether application of this case is proper in their trial

 5   briefs. No additional briefing is requested.

 6        IT IS SO ORDERED.

 7        DATED:   July 13, 2010.

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